                                                                   Case 2:15-cv-05346-CJC-E Document 439 Filed 10/22/20 Page 1 of 4 Page ID #:29797



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                                  ATTORNEYS AT LAW
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                                                                                                     UNITED STATES DISTRICT COURT
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                                                                                                  CENTRAL DISTRICT OF CALIFORNIA
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                                                                           T.P., by and through S.P., as next                    CASE 2:15-cv-05346-CJC-E
                                                                     15    friend, parent, and natural guardian; et
                                                                     16    al.,                                                  NOTICE OF PLAINTIFFS’
                                                                                                                                 FAILURE TO OPPOSE
                                                                     17                                                          DEFENDANT’S SUMMARY
                                                                                                                                 JUDGMENT MOTIONS IN
                                                                     18                          Plaintiffs,                     BELLWETHER IV

                                                                     19                                                          Date: November 9, 2020
                                                                                   v.                                            Time: 1:30 p.m.
                                                                     20                                                          Judge: Hon. Cormac J. Carney
                                                                           WALT DISNEY PARKS AND                                 Courtroom: 9B
                                                                     21    RESORTS U.S., INC.,

                                                                     22                          Defendant.
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                                                                     28    Notice of Plaintiffs’ Failure to Oppose Defendant’s                     (No. 2:15-cv-05346-CJC-E)
                                                                           Summary Judgment Motions in Bellwether IV
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                                                                 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                                 2          PLEASE TAKE NOTICE THAT plaintiffs V.J.B., S.L.B., K.A.C.,
                                                                 3   J.L.C., Y.Z. and M.Y.R. did not submit opposition briefs to Walt Disney Parks and
                                                                 4   Resorts U.S., Inc.’s (“Disney”) Motions for Summary Judgment for Bellwether IV
                                                                 5   plaintiffs (Docs. 435-437) by the October 19th deadline and still have not filed their
                                                                 6   oppositions even after they were informed of this non-compliance. As a result,
                                                                 7   plaintiffs in Bellwether IV have failed to “set[] forth all material facts as to which it
                                                                 8   is contended there exists a genuine dispute necessary to be litigated,” as required by
                                                                 9   Local Rule 56-2.
                                                                10          On October 20, 2020, the undersigned counsel emailed plaintiffs’ counsel
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                                                                11   indicating that the deadlines had been missed and said it was “because no
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                                                                12   opposition deadline was calendared in my office.” He then asked for Disney’s
                                                     IRVINE




                                                                13   position regarding a motion to extend the deadlines by two weeks or until
                                                                14   November 2, 2020. Counsel for Disney responded that it would oppose the
                                                                15   requested extension, but would not oppose a request to extend the deadline until
                                                                16   this Friday, October 23 -- a full workweek after the original deadline -- on the
                                                                17   condition that Disney would have 7 days (consistent with the original schedule) to
                                                                18   file its reply briefs and that the hearing date would be pushed back one week.
                                                                19          Plaintiffs’ counsel has not responded to Counsel for Disney nor submitted
                                                                20   any request for an extension to file their opposition briefs. Given plaintiffs’
                                                                21   inaction, “the Court may assume that the material facts as claimed and adequately
                                                                22   supported by [Disney]” in its summary judgment motions “are admitted to exist
                                                                23   without controversy.” L.R. 56-3; see, e.g., Lee v. Select Portfolio Servicing Inc.,
                                                                24   2015 WL 12659931, at *2, 4 (C.D. Cal. Feb. 5, 2015) (granting defendant’s motion
                                                                25   for summary judgment in full where plaintiff did not submit any statement of
                                                                26   genuine disputed facts, and defendant “adequately supported the material facts that
                                                                27   it claims exist without controversy and [showed] that it has satisfied its burden as
                                                                28    Notice of Plaintiffs’ Failure to Oppose
                                                                      Defendant’s Summary Judgment Motions in   -2-                       Case 2:15-cv-05346-R-E
                                                                      Bellwether IV
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                                                                 1   the moving party”); Matsuba v. Chicago Title Ins. Co., 2013 WL 12120080, at *1
                                                                 2   (C.D. Cal. Sept. 11, 2013) (granting defendant’s motion for summary judgment
                                                                 3   where plaintiff did not submit any opposition and the defendant’s motion “presents
                                                                 4   sound grounds for summarily adjudicating the action in [d]efendant’s favor”).
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                                                                      Dated: October 22, 2020                   McDERMOTT WILL & EMERY LLP
                                                                 6
                                                                 7                                              By: /s/ Kerry Alan Scanlon
                                                                                                                   Kerry Alan Scanlon
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                                                                                                                   Attorney for Walt Disney Parks and
                                                                 9                                                 Resorts U.S., Inc.
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                                                                28    Notice of Plaintiffs’ Failure to Oppose
                                                                      Defendant’s Summary Judgment Motions in    -3-                    Case 2:15-cv-05346-R-E
                                                                      Bellwether IV
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                                                                 1                                CERTIFICATE OF SERVICE
                                                                 2          I certify that on October 22, 2020, I electronically filed the foregoing with
                                                                 3   the Clerk of the Court for the United States District Court, Central District of
                                                                 4   California, by using the CM/ECF system. Participants in the case who are
                                                                 5   registered CM/ECF users will be served by the CM/ECF system.
                                                                 6
                                                                 7                                                    /s/ Jeremy M. White
                                                                                                                      Jeremy M. White
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                                                                28    Notice of Plaintiffs’ Failure to Oppose
                                                                      Defendant’s Summary Judgment Motions in   -4-                         Case 2:15-cv-05346-R-E
                                                                      Bellwether IV
